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                                    United States Court of Appeals
                                                 FIFTH C IR C U IT
                                             O FFIC E O F TH E C LER K
 C H A R LES R . FU LBR U G E III                                                        TEL. 504-310-7700
            C LER K                                                                   600 S. M A ESTR I PLA C E
                                                                                     N EW O R LEA N S, LA 70130




                                             July 1, 2009


Mr. Van Wesley Northern
301 S Polk Street
Suite 380
Amarillo, TX 79101-0000

        No. 09-27, Ralph Crum v. Kent Ries, et al
               USDC No. 08-20297-rlj7

We have docketed the motion for permission to appeal, and ask you
to use the case number above in future inquiries.
Counsel who desire to appear in this case must sign and return a
"Form for Appearance of Counsel" as required by 5TH CIR . R. 46
within 10 days from this date.       You must name each party you
represent, see FED . R. APP . P. 12(b) and 5TH CIR . R. 12. You may
print or download the form from the Fifth Circuit web site,
www.ca5.uscourts.gov. If you fail to send in the form, we will
remove your name from the docket. Pro se parties do not need to
file an appearance form.



                                                     CHARLES R. FULBRUGE III, Clerk


                                                     By:_________________________
                                                     Gena L. Pelham, Deputy Clerk
                                                     504-310-7684
cc:     Mr. Kent David Ries
        Mr. Coleman Young



DKT1
